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                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF MICHIGAN
                               SOUTHERN DIVISION

SHELLY DONAHUE,
                                             Case No. 1:11-cv-627
              Plaintiff,
                                             HON. GORDON J. QUIST
v.

OMNI CREDIT SERVICES OF
FLORIDA, INC.,

            Defendant.
______________________________/

                                      Notice of Dismissal

       Pursuant to Rule 41(a)(1)(A)(i) of the Federal Rules of Civil Procedure, plaintiff Shelly

Donahue, through her attorney of record, files this Notice of Dismissal, with defendant having

served neither an answer nor a motion for summary judgment.

       This action is dismissed with prejudice.

Dated: August 5, 2011                               /s/ Phillip C. Rogers
                                                    Phillip C. Rogers (P34356)
                                                    Attorney for Plaintiff
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